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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

ERICKZAEL HERNANDEZ AND   §
YESSENIA BECERRIL         §
RODRIGUEZ                 §
Plaintiffs,               §
                          §
vs.                       §                                      4:21-cv-2757
                                              CIVIL ACTION NO. __________
                          §                   (removed from the 164th District
PENSKE LEASING AND RENTAL §                   Court, Harris County, Texas,
COMPANY AND SHAWN JENKINS §                   Cause No. 2021-43212)
                          §
Defendants.               §

        DEFENDANT PENSKE LEASING AND RENTAL COMPANY’S
                     NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Notice is hereby given that, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446,

Defendant Penske Leasing and Rental Company hereby removes this action from

the 164th District Court in Harris County, Texas, to the United States District

Court for the Southern District of Texas, Houston Division, and would respectfully

show as follows:

                                       I.   PARTIES

       1.     Plaintiff Erickzael Hernandez (“Hernandez”) is an individual who

resides in Harris County, Texas. For the purposes of diversity, Plaintiff is a citizen

of Texas.

       2.     Plaintiff Yessenia Becerril Rodriguez (“Rodriguez”) is an individual

residing in Harris County, Texas. For the purposes of diversity, Plaintiff is a citizen

of Texas.

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       3.      Defendant Shawn Jenkins (“Jenkins”) is an individual who resides in

Mississippi. For the purposes of diversity, Defendant is a citizen of Mississippi.

       4.      Defendant Penske Leasing and Rental Company is a Delaware

statutory trust that is wholly owned by Penske Truck Leasing Co., L.P. (“Penske

Truck Leasing”). For purposes of diversity, a statutory trust that is sued in its own

name possesses the citizenship of its members. Americold Realty Tr. v. Conagra

Foods, Inc., 577 U.S. 378, 383 (2016); see also Bynane v. Bank of New York Mellon

for CWMBS, Inc. Asset-Backed Certificates Series 2006-24, 866 F.3d 351, 357 (5th

Cir. 2017).

       5.      Penske Truck Leasing was, at the time of the filing of this action, at

the time of removal, has been at all times since, and still is, a limited partnership

with its principal place of business in the State of Pennsylvania. For purposes of

federal diversity jurisdiction, the partnership itself is considered a citizen of every

state in which a general partner or limited partner is a citizen. At the time of filing

this action, the time of removal, and all times since, and currently, the partners of

Penske Truck Leasing are and were citizens of the states of Delaware, Connecticut,

Michigan, Pennsylvania, Tennessee, and Maryland and the country of Japan. As a

result, for diversity purposes, the following are Penske Truck Leasing’s partners

along with their citizenship:

       a. The general partner of Penske Truck Leasing is PTL GP, LLC. PTL GP,

            LLC is a limited liability company formed under the laws of Delaware.

            For diversity purposes, the citizenship of a limited liability company is the


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          citizenship of its members. PTL GP, LLC’s sole member is LJ VP

          Holdings, LLC, which is also a limited liability company formed under the

          laws of Delaware. At the time of the filing of this action, at the time of

          removal, at all times since, and currently, the members of LJ VP

          Holdings, LLC are and were citizens of the states of Delaware, Michigan

          and Pennsylvania, and none are or were citizens of the State of Texas.

          The following are LJ VP Holdings, LLC’s members and their citizenship:

                i.   Penske Automotive Group, Inc., which was, at the time of the

                     filing of this action, at the time of removal, has been at all times

                     since, and still is, a corporation incorporated under the laws of

                     the State of Delaware with its principal place of business in

                     Michigan.     Accordingly,   for   diversity   purposes,    Penske

                     Automotive Group, Inc. is a citizen of Delaware and Michigan.

               ii.   Penske Truck Leasing Corporation, which was, at the time of

                     the filing of this action, at the time of removal, has been at all

                     times since, and still is, a corporation incorporated under the

                     laws of the State of Delaware with its principal place of business

                     in Pennsylvania. Accordingly, for diversity purposes, Penske

                     Truck Leasing Corporation is a citizen of Delaware and

                     Pennsylvania.

       b. Penske Automotive Group, Inc. is a limited partner of Penske Truck

          Leasing. Penske Automotive Group, Inc. was, at the time of the filing of

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          this action, at the time of removal, has been at all times since, and still is,

          a corporation incorporated under the laws of the State of Delaware with

          its principal place of business in the State of Michigan. Accordingly, for

          diversity purposes, Penske Automotive Group, Inc. is a citizen of

          Delaware and Michigan as defined by 28 U.S.C. § 1332.

       c. Penske Truck Leasing Corporation is a limited partner of Penske Truck

          Leasing. Penske Truck Leasing Corporation was, at the time of the filing

          of this action, at the time of removal, has been at all times since, and still

          is, a corporation incorporated under the laws of the State of Delaware

          with its principal place of business in the State of Pennsylvania.

          Accordingly, for diversity purposes, Penske Truck Leasing Corporation is

          a citizen of Delaware and Pennsylvania as defined by 28 U.S.C. § 1332.

       d. Logistics Holding, LLC is a limited partner of Penske Truck Leasing.

          Logistics Holding, LLC is a limited liability company formed under the

          laws of Delaware.      For diversity purposes, the citizenship of a limited

          liability company is the citizenship of its members.       Logistics Holding,

          LLC’s sole member is GE Capital Truck Leasing Holding, LLC, which is

          also a limited liability company formed under the laws of Delaware. At

          the time of the filing of this action, at the time of removal, at all times

          since, and currently, the members of GE Capital Truck Leasing Holding,

          LLC are and were citizens of the states of Tennessee, Maryland,

          Connecticut, and Delaware, and none are or were citizens of the State of



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          Texas.     The following are GE Capital Truck Leasing Holding, LLC’s

          members and their citizenship:

                i.   GE Capital US Holdings, Inc., which was, at the time of the

                     filing of this

                     action, at the time of removal, has been at all times since, and

                     still is, a corporation incorporated under the laws of the State of

                     Delaware with its principal place of business in Connecticut.

                     Accordingly, for diversity purposes, GE Capital US Holdings,

                     Inc. is a citizen of Delaware and Connecticut.

               ii.   General Electric Credit Corporation of Tennessee, which was, at

                     the time

                     of the filing of this action, at the time of removal, has been at all

                     times since, and still is, a corporation incorporated under the

                     laws of the State of Tennessee with its principal place of

                     business in Maryland.       Accordingly, for diversity purposes,

                     General Electric Credit Corporation is a citizen of Tennessee

                     and Maryland.

              iii.   GE Capital Global Electronics Services, Inc., which was, at the

                     time of the filing of this action, at the time of removal, has been

                     at all times since, and still is, a corporation incorporated under

                     the laws of the State of Delaware with its principal place of

                     business in Connecticut. Accordingly, for diversity purposes, GE



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                     Capital Global Electronics Services, Inc. is a citizen of Delaware

                     and Connecticut.

       e. GE Capital Truck Leasing Holding, LLC is a limited partner of Penske

          Truck Leasing. GE Capital Truck Leasing Holding, LLC is a limited

          liability company formed under the laws of Delaware. For diversity

          purposes, the citizenship of a limited liability company is the citizenship

          of its members. At the time of the filing of this action, at the time of

          removal, at all times since, and currently, the members of GE Capital

          Truck Leasing Holding, LLC are and were citizens of the states of

          Tennessee, Maryland, Delaware, and Connecticut, and none are or were

          citizens of the State of Texas.       The following are GE Capital Truck

          Leasing Holding, LLC’s members and their citizenship:

                i.   GE Capital US Holdings, Inc., which was, at the time of the

                     filing of this

                     action, at the time of removal, has been at all times since, and

                     still is, a corporation incorporated under the laws of the State of

                     Delaware with its principal place of business in Connecticut.

                     Accordingly, for diversity purposes, GE Capital US Holdings,

                     Inc. is a citizen of Delaware and Connecticut.

               ii.   General Electric Credit Corporation of Tennessee, which was, at

                     the time

                     of the filing of this action, at the time of removal, has been at all



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                     times since, and still is, a corporation incorporated under the

                     laws of the State of Tennessee with its principal place of

                     business in Maryland.      Accordingly, for diversity purposes,

                     General Electric Credit Corporation is a citizen of Tennessee

                     and Maryland.

              iii.   GE Capital Global Electronics Services, Inc., which was, at the

                     time of the filing of this action, at the time of removal, has been

                     at all times since, and still is, a corporation incorporated under

                     the laws of the State of Delaware with its principal place of

                     business in Connecticut. Accordingly, for diversity purposes, GE

                     Capital Global Electronics Services, Inc. is a citizen of Delaware

                     and Connecticut.

       f. General Electric Credit Corporation of Tennessee is a limited partner of

          Penske Truck Leasing. General Electric Credit Corporation of Tennessee

          was, at the time of the filing of this action, at the time of removal, has

          been at all times since, and still is, a corporation incorporated under the

          laws of the State of Tennessee with its principal place of business in the

          State of Maryland. Accordingly, for diversity purposes General Electric

          Credit Corporation of Tennessee is a citizen of Tennessee and Maryland

          as defined by 28 U.S.C. § 1332.

       g. MBK USA Commercial Vehicles, Inc. is a limited partner of Penske Truck

          Leasing. MBK Commercial Vehicles, Inc. was, at the time of the filing of



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             this action, has been at all times since, and still is, a corporation

             incorporated under the laws of the State of Delaware with its principal

             place of business in Tokyo, Japan. Accordingly, for diversity purposes,

             MBK Commercial Vehicles, Inc. is a citizen of Delaware and Japan as

             defined by 28 U.S.C. § 1332.

       6.       In summary, for purposes of diversity, Penske Truck Leasing is a

citizen of Delaware, Pennsylvania, Tennessee, Connecticut, Maryland and Michigan

and the country of Japan.

                         II.    THE STATE COURT ACTION

       7.       On July 16, 2021, Plaintiffs filed their Original Petition in the 164th

District Court of Harris County, Texas, in an action styled Erickzael Hernandez and

Yessenia Becerril Rodriguez v. Penske Leasing and Rental Company and Shawn

Jenkins, Cause No. 2021-43212.

       8.       On July 23, 2021, Defendant Penske Leasing and Rental Company was

served with Plaintiffs’ Original Petition in the above-entitled action.

       9.       Plaintiffs’ claims arise from a motor vehicle accident that occurred on

October 13, 2020. Plaintiffs bring claims of Negligence against both Defendants

Penske Leasing and Rental Company and Jenkins as a result of the accident.

Plaintiffs further requested a jury trial for this matter.

       10.      As of the date of this filing, the following pleadings have been filed in

the state court action in addition to the Plaintiffs’ petition: Defendant's Verified

Denial and Original Answer. Copies of all process, pleadings and orders served upon



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Defendants in the above-entitled action are attached hereto as Exhibits A – C and

filed herewith.

       11.    With this Notice of Removal, Defendant Penske Leasing and Rental

Company removes the State Court Action to this Court on the basis of diversity

jurisdiction, as more fully described herein.

                            III.   BASIS FOR REMOVAL

       12.    The State Court Action is removable pursuant to 28 U.S.C §§ 1441(a)-

(b) and 28 U.S.C. 1332(a)(1). This lawsuit is a civil dispute between citizens of

different states. There is and was at all relevant times (including the time of filing

the State Court Action, service of the Petition, and the filing of this Notice of

Removal) complete diversity of citizenship between parties.

       13.    The amount in controversy in this lawsuit exceeds $75,000, exclusive

of interest and costs, as evidenced by the seventh paragraph of page two of

Plaintiffs’ Original Petition, included at Exhibit B-1 attached hereto and

incorporated herein by reference. In their Petition, Plaintiffs seek to recover

monetary relief over $250,000.

       14.    Because Plaintiffs and the Defendants are citizens of different states

and the amount in controversy exceeds the $75,000 requirement, this Court has

original jurisdiction and removal is proper.




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                                IV.    BASIS OF REMOVAL

       15.    Venue is proper in this Court under 28 U.S.C. § 1441(a) because the

district and division of this Court include Harris County, Texas, the place where

Plaintiffs filed their State Court Action.

               V.     COMPLIANCE WITH REMOVAL REQUIREMENTS

       16.    This Notice of Removal is timely filed under 28 U.S.C. §§ 1446(a)-(b).

This Notice of Removal is filed within thirty days of July 23, 2021, the date Penske

Leasing and Rental Company was first served with process and a copy of Plaintiffs’

Original Petition in the State Court Action, the initial pleading setting forth the

claim for relief upon which this action is based. This Notice of Removal is also filed

within one year of the filing of the Petition on July 16, 2021.

       17.    Plaintiffs filed their Original Petition in the 164th District Court of

Harris County, Texas. In accordance with 28 U.S.C. §§1446(d), written notice of this

Notice of Removal will be promptly given to Plaintiffs, through their counsel of

record, and a copy of this Notice of Removal will be filed with the clerk of the 164th

District Court of Harris County, Texas, where the State Court Action is pending.

       18.    Pursuant to Southern District Local Rule 81 and 28 U.S.C. 1446, the

following items are being filed and are incorporated herein by reference: Exhibit

A—a copy of the state court docket sheet; Exhibit B – an index of documents filed

in the State Court Action; Exhibits B-1 through B-5—each document filed in the

State Court Action, including all process, pleadings, and orders; and Exhibit C – a

list of counsel of record.



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       19.    By filing this Notice of Removal, Defendant does not intend to waive

any defenses they may have to Plaintiffs’ claims.

                                       VI.CONCLUSION

       WHEREFORE, Defendant Penske Leasing and Rental Company requests

that this Court accept jurisdiction over this lawsuit for the reasons set forth above

and grant them such other and further relief at law and in equity to which they

may be justly entitled.

                                               Respectfully submitted,




                                               MARK S. SCUDDER
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                                               ATTORNEYS FOR DEFENDANT
                                               PENSKE LEASING AND RENTAL
                                               COMPANY

                            CERTIFICATE OF SERVICE

       On August 23rd, 2021 I electronically submitted the foregoing document with
the clerk of court for the U.S. District Court, Southern District of Texas, using the
electronic case filing system of the court. I hereby certify that I have served all
counsel of record electronically or by another manner authorized by Federal Rule of
Civil Procedure 5(b)(2).


                                          ____________________________________
                                          MARK S. SCUDDER

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